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  14
  15                      UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
  16
       MARIO H. GONZALEZ, CATALINA             )   Case No. 5:20-cv-01363-JGB-SP
  17   PEREZ GONZALEZ, EVELYN Y.               )   Assigned to: Hon. Jesus G. Bernal
  18   GONZALEZ, and JOSE ARMANDO              )
  19   GONZALEZ individually and as            )   STIPULATED PROTECTIVE
       successors in interest of JOSE JAVIER   )   ORDER
  20   GONZALEZ, deceased,                     )
  21                                           )   DISCOVERY MATTER
                   Plaintiffs,                 )
  22                                           )
  23         vs.                               )   Complaint filed: 07/08/2020
                                               )   Trial Date:      Not Set
  24   COUNTY OF SAN BERNARDINO,
                                               )
       JUAN FRIES, FERNANDO
  25                                           )
       FIGUEROA, and DOES 3-10,
  26                                           )
                   Defendants.                 )
  27                                           )
  28



                        [PROPOSED] STIPULATED PROTECTIVE ORDER
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   1      1. A. PURPOSES AND LIMITATIONS
   2         Discovery in this action is likely to involve production of confidential,
   3   proprietary, or private information for which special protection from public
   4   disclosure and from use for any purpose other than prosecuting this litigation may
   5   be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
   6   enter the following Stipulated Protective Order. The parties acknowledge that this
   7   Order does not confer blanket protections on all disclosures or responses to
   8   discovery and that the protection it affords from public disclosure and use extends
   9   only to the limited information or items that are entitled to confidential treatment
  10   under the applicable legal principles. The parties further acknowledge, as set forth
  11   in Section 12.3, below, that this Stipulated Protective Order does not entitle them to
  12   file confidential information under seal; Civil Local Rule 79-5 sets forth the
  13   procedures that must be followed and the standards that will be applied when a party
  14   seeks permission from the court to file material under seal.
  15         B. GOOD CAUSE STATEMENT
  16         This action is likely to involve police reports, criminal investigation
  17   material, confidential informant information, medical records, financial materials,
  18   peace officer personnel materials, and other private and confidential materials for
  19   which special protection from public disclosure and from use for any purpose other
  20   than prosecution of this action is warranted. Such confidential material and
  21   information consist of, among other things, confidential witness information,
  22   investigation techniques, private medical records, information implicating privacy
  23   rights of third parties, financial records, personal information, and information
  24   otherwise generally unavailable to the public, or which may be privileged or
  25   otherwise protected from disclosure under state or federal statutes, court rules, case
  26   decisions, or common law. Accordingly, to expedite the flow of information, to
  27   facilitate the prompt resolution of disputes over confidentiality of discovery
  28   materials, to adequately protect information the parties are entitled to keep

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   1   confidential, to ensure that the parties are permitted reasonable necessary uses of
   2   such material in preparation for and in the conduct of trial, to address their
   3   handling at the end of the litigation, and serve the ends of justice, a protective order
   4   for such information is justified in this matter. It is the intent of the parties that
   5   information will not be designated as confidential for tactical reasons and that
   6   nothing be so designated without a good faith belief that it has been maintained in
   7   a confidential, non-public manner, and there is good cause why it should not be
   8   part of the public record of this case.
   9        2. DEFINITIONS
  10          2.1 Action: Gonzalez et. al. v. County of San Bernardino et. al., Case No.
  11   5:20-cv-01363-JGB-SP.
  12          2.2 Challenging Party: a Party or Non-Party that challenges the designation
  13   of information or items under this Order.
  14          2.3 “CONFIDENTIAL” Information or Items: information (regardless of
  15   how it is generated, stored or maintained) or tangible things that qualify for
  16   protection under Federal Rule of Civil Procedure 26(c), and as specified above in
  17   the Good Cause Statement.
  18          2.4 Counsel: Outside Counsel of Record and House Counsel (as well as their
  19   support staff).
  20          2.5 Designating Party: a Party or Non-Party that designates information or
  21   items that it produces in disclosures or in responses to discovery as
  22   “CONFIDENTIAL.”
  23          2.6 Disclosure or Discovery Material: all items or information, regardless of
  24   the medium or manner in which it is generated, stored, or maintained (including,
  25   among other things, testimony, transcripts, and tangible things), that are produced
  26   or generated in disclosures or responses to discovery in this matter.
  27   //
  28   //

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                          [PROPOSED] STIPULATED PROTECTIVE ORDER
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   1         2.7 Expert: a person with specialized knowledge or experience in a matter
   2   pertinent to the litigation who has been retained by a Party or its counsel to serve
   3   as an expert witness or as a consultant in this Action.
   4         2.8 House Counsel: attorneys who are employees of a party to this Action.
   5   House Counsel does not include Outside Counsel of Record or any other outside
   6   counsel.
   7         2.9 Non-Party: any natural person, partnership, corporation, association, or
   8   other legal entity not named as a Party to this action.
   9         2.10 Outside Counsel of Record: attorneys who are not employees of a party
  10   to this Action but are retained to represent or advise a party to this Action and have
  11   appeared in this Action on behalf of that party or are affiliated with a law firm
  12   which has appeared on behalf of that party, and includes support staff.
  13         2.11 Party: any party to this Action, including all of its officers, directors,
  14   employees, consultants, retained experts, and Outside Counsel of Record (and their
  15   support staffs).
  16         2.12 Producing Party: a Party or Non-Party that produces Disclosure or
  17   Discovery Material in this Action.
  18         2.13 Professional Vendors: persons or entities that provide litigation support
  19   services (e.g., photocopying, videotaping, translating, preparing exhibits or
  20   demonstrations, and organizing, storing, or retrieving data in any form or medium)
  21   and their employees and subcontractors.
  22         2.14 Protected Material: any Disclosure or Discovery Material that is
  23   designated as “CONFIDENTIAL.”
  24         2.15 Receiving Party: a Party that receives Disclosure or Discovery Material
  25   from a Producing Party.
  26      3. SCOPE
  27         The protections conferred by this Stipulation and Order cover not only
  28   Protected Material (as defined above), but also (1) any information copied or

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   1   extracted from Protected Material; (2) all copies, excerpts, summaries, or
   2   compilations of Protected Material; and (3) any testimony, conversations, or
   3   presentations by Parties or their Counsel that might reveal Protected Material. Any
   4   use of Protected Material at trial shall be governed by the orders of the trial judge.
   5   This Order does not govern the use of Protected Material at trial.
   6      4. DURATION
   7         Even after final disposition of this litigation, the confidentiality obligations
   8   imposed by this Order shall remain in effect until a Designating Party agrees
   9   otherwise in writing or a court order otherwise directs. Final disposition shall be
  10   deemed to be the later of (1) dismissal of all claims and defenses in this Action,
  11   with or without prejudice; and (2) final judgment herein after the completion and
  12   exhaustion of all appeals, rehearings, remands, trials, or reviews of this Action,
  13   including the time limits for filing any motions or applications for extension of
  14   time pursuant to applicable law.
  15      5. DESIGNATING PROTECTED MATERIAL
  16         5.1 Exercise of Restraint and Care in Designating Material for Protection.
  17   Each Party or Non-Party that designates information or items for protection under
  18   this Order must take care to limit any such designation to specific material that
  19   qualifies under the appropriate standards. The Designating Party must designate for
  20   protection only those parts of material, documents, items, or oral or written
  21   communications that qualify so that other portions of the material, documents,
  22   items, or communications for which protection is not warranted are not swept
  23   unjustifiably within the ambit of this Order.
  24         Mass, indiscriminate, or routinized designations are prohibited. Designations
  25   that are shown to be clearly unjustified or that have been made for an improper
  26   purpose (e.g., to unnecessarily encumber the case development process or to
  27   impose unnecessary expenses and burdens on other parties) may expose the
  28   Designating Party to sanctions.

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   1         If it comes to a Designating Party’s attention that information or items that it
   2   designated for protection do not qualify for protection, that Designating Party must
   3   promptly notify all other Parties that it is withdrawing the inapplicable designation.
   4         5.2 Manner and Timing of Designations. Except as otherwise provided in
   5   this Order (see, e.g., second paragraph of section 5.2(a) below), or as otherwise
   6   stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
   7   under this Order must be clearly so designated before the material is disclosed or
   8   produced.
   9         Designation in conformity with this Order requires:
  10                (a) for information in documentary form (e.g., paper or electronic
  11   documents, but excluding transcripts of depositions or other pretrial or trial
  12   proceedings), that the Producing Party affix at a minimum, the legend
  13   “CONFIDENTIAL” (hereinafter “CONFIDENTIAL legend”), to each page that
  14   contains protected material. If only a portion or portions of the material on a page
  15   qualifies for protection, the Producing Party also must clearly identify the
  16   protected portion(s) (e.g., by making appropriate markings in the margins). A Party
  17   or Non-Party that makes original documents available for inspection need not
  18   designate them for protection until after the inspecting Party has indicated which
  19   documents it would like copied and produced. During the inspection and before the
  20   designation, all of the material made available for inspection shall be deemed
  21   “CONFIDENTIAL.” After the inspecting Party has identified the documents it
  22   wants copied and produced, the Producing Party must determine which documents,
  23   or portions thereof, qualify for protection under this Order. Then, before producing
  24   the specified documents, the Producing Party must affix the “CONFIDENTIAL
  25   legend” to each page that contains Protected Material. If only a portion or portions
  26   of the material on a page qualifies for protection, the Producing Party also must
  27   clearly identify the protected portion(s) (e.g., by making appropriate markings in
  28   the margins).

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   1                (b) for testimony given in depositions that the Designating Party
   2   identify the Disclosure or Discovery Material on the record, before the close of the
   3   deposition all protected testimony.
   4                (c) for information produced in some form other than documentary
   5   and for any other tangible items, that the Producing Party affix in a prominent
   6   place on the exterior of the container or containers in which the information is
   7   stored the legend “CONFIDENTIAL.” If only a portion or portions of the
   8   information warrants protection, the Producing Party, to the extent practicable,
   9   shall identify the protected portion(s).
  10                5.3 Inadvertent Failures to Designate. If timely corrected, an
  11   inadvertent failure to designate qualified information or items does not, standing
  12   alone, waive the Designating Party’s right to secure protection under this Order for
  13   such material. Upon timely correction of a designation, the Receiving Party must
  14   make reasonable efforts to assure that the material is treated in accordance with the
  15   provisions of this Order.
  16      6. CHALLENGING CONFIDENTIALITY DESIGNATIONS
  17         6.1 Timing of Challenges. Any Party or Non-Party may challenge a
  18   designation of confidentiality at any time that is consistent with the Court’s
  19   Scheduling Order.
  20         6.2 Meet and Confer. The Challenging Party shall initiate the dispute
  21   resolution process under Local Rule 37.1 et seq.
  22         6.3 The burden of persuasion in any such challenge proceeding shall be on
  23   the Designating Party. Frivolous challenges, and those made for an improper
  24   purpose (e.g., to harass or impose unnecessary expenses and burdens on other
  25   parties) may expose the Challenging Party to sanctions. Unless the Designating
  26   Party has waived or withdrawn the confidentiality designation, all parties shall
  27   continue to afford the material in question the level of protection to which it is
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   1   entitled under the Producing Party’s designation until the Court rules on the
   2   challenge.
   3      7. ACCESS TO AND USE OF PROTECTED MATERIAL
   4         7.1 Basic Principles. A Receiving Party may use Protected Material that is
   5   disclosed or produced by another Party or by a Non-Party in connection with this
   6   Action only for prosecuting, defending, or attempting to settle this Action. Such
   7   Protected Material may be disclosed only to the categories of persons and under
   8   the conditions described in this Order. When the Action has been terminated, a
   9   Receiving Party must comply with the provisions of section 13 below (FINAL
  10   DISPOSITION). Protected Material must be stored and maintained by a Receiving
  11   Party at a location and in a secure manner that ensures that access is limited to the
  12   persons authorized under this Order.
  13         7.2 Disclosure of “CONFIDENTIAL” Information or Items. Unless
  14   otherwise ordered by the court or permitted in writing by the Designating Party, a
  15   Receiving Party may disclose any information or item designated
  16   “CONFIDENTIAL” only to:
  17                (a) the Receiving Party’s Outside Counsel of Record in this Action, as
  18   well as employees of said Outside Counsel of Record to whom it is reasonably
  19   necessary to disclose the information for this Action;
  20                (b) the officers, directors, and employees (including House Counsel)
  21   of the Receiving Party to whom disclosure is reasonably necessary for this Action;
  22                (c) Experts (as defined in this Order) of the Receiving Party to whom
  23   disclosure is reasonably necessary for this Action and who have signed the
  24   “Acknowledgment and Agreement to Be Bound” (Exhibit A);
  25                (d) the court and its personnel;
  26                (e) court reporters and their staff;
  27                (f) professional jury or trial consultants, mock jurors, and Professional
  28   Vendors to whom disclosure is reasonably necessary for this Action and who have

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   1   signed the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
   2                (g) the author or recipient of a document containing the information or
   3   a custodian or other person who otherwise possessed or knew the information;
   4                (h) during their depositions, witnesses ,and attorneys for witnesses, in
   5   the Action to whom disclosure is reasonably necessary provided: (1) the deposing
   6   party requests that the witness sign the form attached as Exhibit 1 hereto; and (2)
   7   they will not be permitted to keep any confidential information unless they sign the
   8   “Acknowledgment and Agreement to Be Bound” (Exhibit A), unless otherwise
   9   agreed by the Designating Party or ordered by the court. Pages of transcribed
  10   deposition testimony or exhibits to depositions that reveal Protected Material may
  11   be separately bound by the court reporter and may not be disclosed to anyone
  12   except as permitted under this Stipulated Protective Order; and
  13                (i) any mediator or settlement officer, and their supporting personnel,
  14   mutually agreed upon by any of the parties engaged in settlement discussions.
  15        8. PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
  16          IN OTHER LITIGATION
  17          If a Party is served with a subpoena or a court order issued in other litigation
  18   that compels disclosure of any information or items designated in this Action as
  19   “CONFIDENTIAL,” that Party must:
  20                (a) promptly notify in writing the Designating Party. Such notification
  21   shall include a copy of the subpoena or court order;
  22                (b) promptly notify in writing the party who caused the subpoena or
  23   order to issue in the other litigation that some or all of the material covered by the
  24   subpoena or order is subject to this Protective Order. Such notification shall
  25   include a copy of this Stipulated Protective Order; and
  26                (c) cooperate with respect to all reasonable procedures sought to be
  27   pursued by the Designating Party whose Protected Material may be affected.
  28   //

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    1         If the Designating Party timely seeks a protective order, the Party served
    2   with the subpoena or court order shall not produce any information designated in
    3   this action as “CONFIDENTIAL” before a determination by the court from which
    4   the subpoena or order issued, unless the Party has obtained the Designating Party’s
    5   permission. The Designating Party shall bear the burden and expense of seeking
    6   protection in that court of its confidential material and nothing in these provisions
    7   should be construed as authorizing or encouraging a Receiving Party in this Action
    8   to disobey a lawful directive from another court.
    9      9. A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
   10         PRODUCED IN THIS LITIGATION
   11                  (a) The terms of this Order are applicable to information produced by
   12   a Non-Party in this Action and designated as “CONFIDENTIAL.” Such
   13   information produced by Non-Parties in connection with this litigation is protected
   14   by the remedies and relief provided by this Order. Nothing in these provisions
   15   should be construed as prohibiting a Non-Party from seeking additional
   16   protections.
   17                  (b) In the event that a Party is required, by a valid discovery request,
   18   to produce a Non-Party’s confidential information in its possession, and the Party
   19   is subject to an agreement with the Non-Party not to produce the Non-Party’s
   20   confidential information, then the Party shall:
   21                        (1) promptly notify in writing the Requesting Party and the
   22   Non-Party that some or all of the information requested is subject to a
   23   confidentiality agreement with a Non-Party;
   24                        (2) promptly provide the Non-Party with a copy of the
   25   Stipulated Protective Order in this Action, the relevant discovery request(s), and a
   26   reasonably specific description of the information requested; and
   27                        (3) make the information requested available for inspection by
   28   the Non-Party, if requested.

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    1                (c) If the Non-Party fails to seek a protective order from this court
    2   within 14 days of receiving the notice and accompanying information, the
    3   Receiving Party may produce the Non-Party’s confidential information responsive
    4   to the discovery request. If the Non-Party timely seeks a protective order, the
    5   Receiving Party shall not produce any information in its possession or control that
    6   is subject to the confidentiality agreement with the Non-Party before a
    7   determination by the court. Absent a court order to the contrary, the Non-Party
    8   shall bear the burden and expense of seeking protection in this court of its
    9   Protected Material.
   10        10. UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
   11          If a Receiving Party learns that, by inadvertence or otherwise, it has
   12   disclosed Protected Material to any person or in any circumstance not authorized
   13   under this Stipulated Protective Order, the Receiving Party must immediately (a)
   14   notify in writing the Designating Party of the unauthorized disclosures, (b) use its
   15   best efforts to retrieve all unauthorized copies of the Protected Material, (c) inform
   16   the person or persons to whom unauthorized disclosures were made of all the terms
   17   of this Order, and (d) request such person or persons to execute the
   18   “Acknowledgment and Agreement to Be Bound” that is attached hereto as Exhibit
   19   A.
   20        11. INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
   21          PROTECTED MATERIAL
   22          When a Producing Party gives notice to Receiving Parties that certain
   23   inadvertently produced material is subject to a claim of privilege or other
   24   protection, the obligations of the Receiving Parties are those set forth in Federal
   25   Rule of Civil Procedure 26(b)(5)(B). This provision is not intended to modify
   26   whatever procedure may be established in an e-discovery order that provides for
   27   production without prior privilege review. Pursuant to Federal Rule of Evidence
   28   502(d) and (e), insofar as the parties reach an agreement on the effect of disclosure

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    1   of a communication or information covered by the attorney-client privilege or
    2   work product protection, the parties may incorporate their agreement in the
    3   stipulated protective order submitted to the court.
    4      12. MISCELLANEOUS
    5         12.1 Right to Further Relief. Nothing in this Order abridges the right of any
    6   person to seek its modification by the Court in the future.
    7         12.2 Right to Assert Other Objections. By stipulating to the entry of this
    8   Protective Order no Party waives any right it otherwise would have to object to
    9   disclosing or producing any information or item on any ground not addressed in
   10   this Stipulated Protective Order. Similarly, no Party waives any right to object on
   11   any ground to use in evidence of any of the material covered by this Protective
   12   Order.
   13         12.3 Filing Protected Material. A Party that seeks to file under seal any
   14   Protected Material must comply with Civil Local Rule 79-5. Protected Material
   15   may only be filed under seal pursuant to a court order authorizing the sealing of the
   16   specific Protected Material at issue. If a Party's request to file Protected Material
   17   under seal is denied by the court, then the Receiving Party may file the information
   18   in the public record unless otherwise instructed by the court.
   19      13. FINAL DISPOSITION
   20         After the final disposition of this Action, as defined in paragraph 4, within
   21   60 days of a written request by the Designating Party, each Receiving Party must
   22   return all Protected Material to the Producing Party or destroy such material. As
   23   used in this subdivision, “all Protected Material” includes all copies, abstracts,
   24   compilations, summaries, and any other format reproducing or capturing any of the
   25   Protected Material. Whether the Protected Material is returned or destroyed, the
   26   Receiving Party must submit a written certification to the Producing Party (and, if
   27   not the same person or entity, to the Designating Party) by the 60 day deadline that
   28   (1) identifies (by category, where appropriate) all the Protected Material that was

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    1   returned or destroyed and (2)affirms that the Receiving Party has not retained any
    2   copies, abstracts, compilations, summaries or any other format reproducing or
    3   capturing any of the Protected Material. Notwithstanding this provision, Counsel
    4   are entitled to retain an archival copy of all pleadings, motion papers, trial,
    5   deposition, and hearing transcripts, legal memoranda, correspondence, deposition
    6   and trial exhibits, expert reports, attorney work product, and consultant and expert
    7   work product, even if such materials contain Protected Material. Any such archival
    8   copies that contain or constitute Protected Material remain subject to this
    9   Protective Order as set forth in Section 4 (DURATION).
   10
   11         IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
   12
   13   DATED: November 10, 2021                SCHONBRUN SEPLOW HARRIS
   14                                           HOFFMAN & ZELDES LLP
   15                                           LAW OFFICES OF DALE K. GALIPO

   16                                           By:           /s/
   17                                                  Michael D. Seplow
                                                       Aidan C. McGlaze
   18                                                  Kristina A. Harootun
   19                                                  Attorneys for Plaintiffs.
   20
   21   DATED: November 12, 2021                LEWIS BRISBOIS BISGAARD &
                                                SMITH LLP
   22
   23                                           By:           /s/
                                                       Matthew P. Harrison
   24                                                  Dawn M. Flores-Oster
   25                                                  Kellian Summers
                                                       Attorneys for Defendants
   26
                                                       County of San Bernardino, Juan
   27                                                  Fries, and Fernando Figueroa.
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                           [PROPOSED] STIPULATED PROTECTIVE ORDER
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    1        FOR GOOD CAUSE SHOWN, IT IS SO ORDERED
    2
    3   DATED: November 22, 2021          By
                                                Honorable Sheri Pym
    4
                                                United States Magistrate Judge
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                        [PROPOSED] STIPULATED PROTECTIVE ORDER
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                         EXHIBIT A
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    1                                        EXHIBIT A
    2             ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
    3   I, _____________________________ [print or type full name], of
    4   _________________ [print or type full address], declare under penalty of perjury
    5   that I have read in its entirety and understand the Stipulated Protective Order that
    6   was issued by the United States District Court for the Central District of California
    7   on [date] in the case of Mario H. Gonzalez, et al. v. County of San Bernardino, et
    8   al.; Case No. 5:20-cv-01363-JGB-SP. I agree to comply with and to be bound by
    9   all the terms of this Stipulated Protective Order and I understand and acknowledge
   10   that failure to so comply could expose me to sanctions and punishment in the
   11   nature of contempt. I solemnly promise that I will not disclose in any manner any
   12   information or item that is subject to this Stipulated Protective Order to any person
   13   or entity except in strict compliance with the provisions of this Order. I further
   14   agree to submit to the jurisdiction of the United States District Court for the
   15   Central District of California for the purpose of enforcing the terms of this
   16   Stipulated Protective Order, even if such enforcement proceedings occur after
   17   termination of this action. I hereby appoint __________________________ [print
   18   or type full name] of _______________________________________ [print or
   19   type full address and telephone number] as my California agent for service of
   20   process in connection with this action or any proceedings related to enforcement of
   21   this Stipulated Protective Order.
   22   Date: ______________________________________
   23   City and State where sworn and signed: _________________________________
   24
   25   Printed name: _______________________________
   26
   27   Signature: __________________________________
   28

                                             15
                          [PROPOSED] STIPULATED PROTECTIVE ORDER
